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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

                                               )
  UNITED STATES OF AMERICA,                    )
                                               )
  v.                                           ) Crim No. 3:22-cr-00071-SVN
                                               )
  GLENCORE LTD.                                )
                                               )

                                           NOTICE

       Defendant Glencore Ltd. (“Glencore”) and Interested Parties Petróleos Mexicanos and its

wholly-owned subsidiary P.M.I. Trading Designated Activity Company (“PMI”) (together,

“PEMEX”) respectfully submit this notice that PEMEX’s claim under the Mandatory Victim

Restitution Act has been fully resolved through a confidential settlement agreement, and

accordingly, PEMEX will not be submitting a claim for restitution.



 Dated: September 12, 2022

 /s/ Christopher Davies_________________           /s/ Abbe David Lowell__________________
 Wilmer Cutler Pickering                             Winston & Strawn LLP
    Hale and Dorr LLP                                Abbe David Lowell (admitted pro hac vice)
 Christopher Davies (admitted pro hac vice)          1901 L Street, N.W.
 Howard M. Shapiro (admitted pro hac vice)           Washington, DC 20036
 1875 Pennsylvania Avenue NW                         T: 202-282-5875
 Washington, DC 20006                                adlowell@winston.com
 T: 202-663-6187
 T: 212-663-6606                                     Seth C. Farber (admitted pro hac vice)
 christopher.davies@wilmerhale.com                   Marcelo M. Blackburn (admitted pro hac
 howard.shapiro@wilmerhale.com                       vice)
                                                     Sarah L. Viebrock (admitted pro hac vice)
 Anjan Sahni (admitted pro hac vice)                 200 Park Avenue
 7 World Trade Center                                New York, NY 10166
 250 Greenwich Street                                T: 212-294-4611
 New York, NY 10007                                  T: 212-294-6744
 T: 212-937-7418                                     T: 212-294-6718
 Anjan.sahni@wilmerhale.com                          sfarber@winston.com
                                                     mblackburn@winston.com
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 Bonnie L. Heiple                                      sviebrock@winston.com
 60 State St.
 Boston, MA 02109                                      The Garber Group LLC
 T: 617-626-5000                                       Ross H. Garber
 Bonnie.heiple@wilmerhale.com                          Bar No. ct17689
                                                       100 Pearl St., 14th Floor
 Counsel for Glencore                                  Hartford, CT 06103
                                                       T: 202-469-6770
                                                       rgarber@thegarbergroup.com

                                                       Counsel for PEMEX and PMI




                                         CERTIFICATE

       Per the Court’s Electronic Filing Rules, I certify that I have consent to affix the signature
of counsel for United States and PEMEX to this document.

                                                           /s/ Christopher Davies
                                                            Counsel for Glencore
